   Case: 1:11-cv-07052 Document #: 38-1 Filed: 12/02/11 Page 1 of 1 PageID #:110




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


MAURICE PATTERSON,                                           )
                                                             )      No.     11 C 7052
                              Plaintiff,                     )
                                                             )      JUDGE KENNELLY
               vs.                                           )
                                                             )      Magistrate Judge Cole
CITY OF CHICAGO, et al.,                                     )
                                                             )
                              Defendants.                    )


                 NOTICE OF FILING AND CERTIFICATE OF SERVICE

TO:    Jon Loevy, Gayle Horn
       Loevy & Loevy
       312 N. May Street, Ste. 100
       Chicago, IL 60607

        PLEASE TAKE NOTICE that on December 2, 2011, I have this day filed with the Clerk
of the United States District Court for the Northern District of Illinois, Eastern Division,
DEFENDANT CITY OF CHICAGO’S ANSWER, AFFIRMATIVE DEFENSES AND
JURY DEMAND TO PLAINTIFF’S COMPLAINT, a copy of which is attached.

       I hereby certify that I have served this notice and the attached documents by electronic
means to the persons named above this 2nd day of December, 2011.


                                                     By: /s/ Megan K. McGrath
                                                     Megan K. McGrath
                                                     Assistant Corporation Counsel

30 North LaSalle Street, Suite 900
Chicago, Illinois 60602
(312) 744-9212
Attorney No. 06288408
